Case 1:21-cv-05339-LAK   Document 83-2   Filed 06/24/24   Page 1 of 9




                     Exhibit 2
          Case 1:21-cv-05339-LAK                   Document 83-2                Filed 06/24/24         Page 2 of 9
Limitation Act (LBKG 2015 1238)                                                                                        Effective: 2024-
                                                                                                                       01-01

                                    Consolidated Act 2015-11-09 no. 1238 on
                                              limitation of claims

                                                             (Limitation Act)


                                   as amended by L 2018-02-28 no. 140 and L 2023-12-12 no. 1553


                                                                       2)   10 years after the termination of the tort/delict for claims for
Chapter 1                                                                   compensation for non-contractual damage not covered by
Scope of the law                                                            paragraph 1,
§ Claims for money or other benefits are time-barred according
to the rules of this Act, unless otherwise provided by special
provisions on limitation in other legislation.

Chapter 2
The starting point of the limitation periods
§ 2. The limitation periods are calculated from the earliest time at
which the creditor could demand satisfaction of the claim, unless
otherwise provided by other provisions.
Subsection 2. If the debtor has been granted grace days or
otherwise a time limit within which payment is considered
timely, the statute of limitations shall not begin to run until the
expiry of the payment deadline.
Paragraph 3. For claims arising from breach of contract, the
limitation period shall be calculated from the time of the breach.
Subsection 4. For claims for damages or compensation for
damage caused outside the contractual relationship, the limitation
period is calculated from the time when the damage occurred.
Paragraph 5. Even if the creditor, due to the debtor's default or
pursuant to a special right of termination, could demand
performance before an agreed due date, the limitation period is
calculated from the agreed due date if the creditor does not
exercise this option. If the creditor exercises the option, the
limitation period shall be calculated from the time at which
performance can then be demanded.
§ Section 2a. For claims based on a written agreement on a
contribution to a company, the limitation period is calculated at
the earliest from the time when the company decides to call in
the contribution. Notwithstanding the first sentence, the
limitation period shall, however, commence no later than 10 years
after the commencement date in accordance with section 2.

Chapter 3
The general limitation periods
§ 3. The limitation period is 3 years, unless otherwise provided in
other provisions.
Subsection 2. If the creditor was unaware of the claim or the
debtor, the limitation period in subsection (1) shall not begin to
run until the day when the creditor became or should have
become aware of it.
Paragraph 3. The statute of limitations shall commence no later
than
1)    30 years after the cessation of the harmful act for claims for
      damages or compensation for personal injury, cf. however,
      subsection 4, and for claims for compensation for damage
      caused by pollution of air, water, soil or subsoil or by
      disturbances caused by noise, vibrations or the like,
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          Case 1:21-cv-05339-LAK                   Document 83-2     Filed 06/24/24   Page 3 of 9
Limitation Act (LBKG 2015 1238)                                                                 Effective: 2024-
                                                                                                01-01

3)     10 years after the commencement date in accordance with
       section 2a for claims based on a written agreement on
       contribution to a company, and
4)     10 years after the commencement date in accordance with
       § 2 for other claims.
Subsection 4. Subsection 3(1) does not apply to claims for
compensation or reimbursement in connection with an
occupational disease, cf. section 7 of the Workers'
Compensation Act.
Stk. 5. Claims for damages or compensation arising from the
fact that an administrative authority, cf. section 1(1) and (2) of
the Public Administration Act, has disregarded statutory
obligations towards a person under the age of 18 in connection
with assaults committed against them, shall not be time-barred.

Chapter 4
Special limitation periods and additional time limits
§ The limitation period is 5 years for claims based on an
agreement on the performance of work as part of an employment
relationship.
(2) Section 3(2) and (3)(4) applies to claims covered by
stk. 1.
§ The limitation period is 10 years,
1)      when a promissory note has been issued for the receivable,
2)      when the claim is registered in a central securities
        depository, or
3)      when the existence and amount of the claim has been
        acknowledged in writing or established by settlement,
        judgment, demand for payment endorsed by the bailiff or
        other binding decision.
Subsection 2. However, claims for interest, fees and the like due
at a later date shall be time-barred in accordance with section 3.
§ (6) The limitation period is 10 years for claims under money
loans or unauthorized overdrafts on accounts with banks, cf.
however subsection (3). Subsection 2. If no date has been fixed
for repayment of the debt under an overdraft facility or other
loan with a variable loan amount, the limitation period is
calculated from the latest deposit or withdrawal from the account
made by anyone other than the creditor, but at the latest from the
date on which the debt was terminated for repayment.
Paragraph 3. Claims for interest, fees and the like are time-
barred in accordance with section 3. However, such claims are
covered by subsections (1) and (2) to the extent that they are
attributed within the maximum on a credit.
§ (7) For claims under deposits in banks or the like, including
accrued interest, the limitation period is 20 years from the most
recent deposit, withdrawal, interest accrual or other entry in the
account.
§ (8) A claim for a pension, annuity, dependency benefit,
maintenance or other similar benefit which falls due at certain
intervals and is not an installment on a principal sum due and
which is based on an agreement or decision shall become time-
barred in its entirety after 10 years from the day on which the
last benefit was paid or, if no payment has been made, from the
day on which the first benefit could be claimed




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          Case 1:21-cv-05339-LAK                     Document 83-2              Filed 06/24/24            Page 4 of 9
Limitation Act (LBKG 2015 1238)                                                                                            Effective: 2024-
                                                                                                                           01-01
                                                                         existence and amount of the claim and pursues such action within
paid, however, cf. section 25(5). The claims for the individual
                                                                         a reasonable time.
services are also aged in accordance with sections 2 and 3.
                                                                         Subsection 2. If the claim is asserted in court, the interruption shall
§ For claims against the guardian which accrue to a person under         be
guardianship and which arise from the guardian's breach of
                                                                         1)    by filing a summons or demand for payment with the court,
his/her obligations as guardian, the limitation periods in section
                                                                         2)    when the claim is asserted during the legal proceedings,
3(1) and 3 are calculated from the end of the guardianship.
                                                                               including as a counterclaim,
§ Section 10. For claims which accrue to a principal against the
agent, or which accrue to a company, an association, a
foundation or similar against a board member or a director of the
company etc, and which arises from the person concerned's
breach of his/her obligations in the performance of his/her duties,
the limitation period shall not begin to run until three years have
elapsed after the termination of the duties or after the earlier date
on which the creditor or the person who can otherwise assert the
claim on his/her behalf is or should have been aware of the
circumstances on which the claim is based.
§ 11. When a claim is secured by a guarantee, the limitation
period against the guarantor is determined in accordance with the
rules that apply to limitation of the claim against the principal
debtor.
§ 12. If several debtors are jointly and severally liable and one of
them has satisfied the claim, the debtor shall be subrogated to the
legal position of the creditor with regard to limitation of claims
against co-debtors.
Subsection 2. If the limitation period is interrupted against one of
the debtors, or if one of the debtors at a time when the claim
against this debtor was not time-barred has satisfied the claim or
granted the creditor an extension of time, a recourse claim
against a co-debtor becomes time-barred at the earliest one year
after the interruption, satisfaction or granting of an extension of
time. If there are several of the events mentioned, the additional
period of 1 year shall be calculated from the event that occurs first.
§ The expiry of the limitation period shall not prevent the
defendant from being ordered to pay damages or compensation
to the aggrieved party in connection with the criminal offense
during criminal proceedings in which the defendant is found
guilty. Such a claim may also be asserted in a separate action
brought within one year of the final judgment in criminal
proceedings in which the defendant has been found guilty or
within one year of the adoption of a fine or other criminal
penalty by the debtor.
§ 14. If the creditor has been prevented from interrupting the
limitation period due to ignorance of the debtor's whereabouts or
due to an obstacle which is not due to the creditor's circumstances,
limitation shall begin at the earliest one year after the creditor
became or should have become aware of the debtor's
whereabouts, respectively one year after the end of the obstacle.
Subsection 2. The provision in subsection (1) may not result in
an extension of the deadlines under section 3(3) and may not
extend other deadlines or additional deadlines by more than 10
years.

Chapter 5
Interruption of the statute of limitations
§ The limitation period is interrupted when the debtor
acknowledges his obligation to the creditor expressly or by his
conduct.
§ The limitation period shall be interrupted when the creditor takes
legal action against the debtor with a view to obtaining a
judgment, a demand for payment endorsed by the bailiff's court,
an arbitration award or other binding decision establishing the
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          Case 1:21-cv-05339-LAK                    Document 83-2              Filed 06/24/24           Page 5 of 9
Limitation Act (LBKG 2015 1238)                                                                                         Effective: 2024-
                                                                                                                        01-01
                                                                        or another decision is made.
3)     when the claim is asserted for set-off during the legal
                                                                        Subsection 4. If the claim is recognized in a bankruptcy estate or
       proceedings, but only to the extent that the claim is
                                                                        estate of the deceased or in an approved composition or debt relief
       covered by the principal claim, or
                                                                        order, the new deadline is calculated from the closing of the
4)     when the debtor submits a summons to the court stating
                                                                        estate, the approval of the composition or the debt relief order.
       that the claim does not exist.
                                                                        Subsection 5. If the claim is recognized after notification as
Subsection 3. If it has been agreed that a dispute concerning a         mentioned in section 17(1)(5), the new limitation period is
claim is to be settled by arbitration or if another special method of   calculated from the date of recognition.
settlement is provided for, the termination shall take place when       Subsection 6. If the interruption occurs by filing a request for
the creditor initiates what must be done on his part to set the         attachment etc., cf. section 18(1)-(3), the new limitation period is
proceedings in motion. Paragraph 2(2)-(4) shall apply mutatis           calculated from the bailiff's request.
mutandis.
§ Section 17. The limitation period is interrupted
1)     by filing a bankruptcy petition or petition for
       reorganization proceedings based on the claim,
2)     when filing a claim in a bankruptcy estate,
3)     upon notification of the claim to the administrator in
       connection with reconstruction proceedings or upon
       notification of the claim in connection with the initiation
       of debt restructuring proceedings,
4)     when filing a claim in an estate after the issue of a
       proclamation and
5)     when filing the claim after the debtor has issued a
       proclamation.
Subsection 2. Interruption under subsection 1(1)(1) and (2) shall
also have effect in relation to the debtor personally, and
interruption under subsection 1(4) shall also have effect in
relation to the debtor's heirs.
Subsection 3. If, in the cases mentioned in subsection (1)(2)-(5),
a proclamation has been issued or the meeting referred to in
section 13 of the Bankruptcy Act has been convened before the
expiry of the limitation period, limitation will not begin before
the expiry of the notification period or the meeting referred to in
section 13 of the Bankruptcy Act.
§ The limitation period is interrupted by filing a request for
attachment if the creditor seeks to advance the business within a
reasonable time.
Subsection 2. If attachment is made by a bailiff, the limitation
period is interrupted when the attachment is made.
Stk. 3. The provision in subsection (1) shall apply mutatis
mutandis to
1)     Submission of a request to the bailiff court for the
       execution of an attachment,
2)     submitting a claim to the bailiff court for a share in
       auction proceeds and
3)     Submitting an application to the enforcement court for the
       repossession of a movable object sold with retention of
       title.
Subsection 4. The limitation period is interrupted when the debt
collection authority notifies the debtor of the decision to withhold
wages
etc. or set-off.
§ When the limitation period is interrupted, a new limitation
period, the length of which is determined in accordance with the
rules of this Act, shall run from the time stipulated in
subsections 2-6.
Subsection 2. If the interruption occurs when the debtor
acknowledges the obligation, the new limitation period is
calculated from the date of the acknowledgement.
Subsection 3. If the interruption is caused by legal action as
mentioned in section 16, the new time limit shall be calculated
from the day on which a legal settlement is reached, a judgment
is given, a demand for payment is endorsed by the bailiff court
Copyright © 2024 Karnov Group Denmark A/S                                                                                             page 4
          Case 1:21-cv-05339-LAK                     Document 83-2              Filed 06/24/24           Page 6 of 9
Limitation Act (LBKG 2015 1238)                                                                                           Effective: 2024-
                                                                                                                          01-01
                                                                         is brought before a higher administrative authority or the Danish
or auction or, where arrest is pursued by bringing an action for
                                                                         Parliamentary Ombudsman within the statutory time limit or
justification, in accordance with the rule in subsection (3). If the
                                                                         otherwise within a reasonable time, the time limit of one year is
limitation period is interrupted by notification of a decision to
                                                                         calculated from the notification of the authority's decision or the
withhold wages, see section 18(4), the new limitation period is
                                                                         Ombudsman's conclusion of the case.
calculated from the time when the decision is made that the
withholding of wages ceases, or at the latest from the time when
the withholding of wages has been suspended for 1 year. If the
limitation period is interrupted by notification of a decision on
set-off, see section 18(4), the new limitation period is calculated
from the day when the decision on set-off is made.
Paragraph 7. If the interruption occurs by filing a request for
attachment of a claim as mentioned in section 5, a new limitation
period of 10 years also applies to the costs and undue interest
calculated during the enforcement proceedings.

Chapter 6
Provisional interruption of the statute of limitations
§ 20. If the creditor has taken legal action as mentioned in § 16
before the expiry of the limitation period, but this does not lead
to a settlement or a decision on the merits, the limitation period
shall not begin to run until one year after the creditor has been
notified that the case is closed. If the creditor has not received
such notification within a reasonable time, the time limit shall be
calculated from the time when the creditor became aware of the
matter or should have sought information about it.
Subsection 2. The creditor may not invoke paragraph 1 if
1)     the legal action obviously could not lead to a decision on
       the merits,
2)     the claimant withdraws the case even though a decision on
       the merits could have been reached; or
3)     it is due to the creditor's choice when submitting a demand
       for payment to the enforcement court that a decision on the
       merits is not taken.
Stk. 3. The provisions in subsections (1) and (2) apply
correspondingly if the debtor, before the expiry of the limitation
period, has filed for bankruptcy without a bankruptcy order having
been issued, has filed for reconstruction proceedings without
reconstruction proceedings having been initiated, or has initiated
proceedings as mentioned in section 18 without a bailiff service
or auction having been held.
Subsection 4. If, before the expiry of the limitation period, cf.
section 17(3), the claim is reported in a bankruptcy or estate, but
is not recognized, the claim against the debtor personally or his
heirs shall lapse at the earliest 1 year after the notification of the
decision to reject the claim or, if such a decision is not made,
after the end of the estate. The same applies when, before the
expiry of the limitation period, a claim is reported in connection
with the initiation of debt relief proceedings, reported in
connection with a summons as mentioned in section 17(1)(5) or
reported to the restructuring administrator in connection with
restructuring proceedings.
§ If, before the expiry of the limitation period, legal or arbitration
proceedings have been brought by or against the creditor
concerning the basis of the claim, limitation shall not commence
until one year after the final decision in the case. Subsection 2. If
a case concerning the existence or amount of the claim or a case
which is decisive in this respect is brought before an
administrative authority before the expiry of the limitation period,
the limitation period begins at the earliest 1 year after the
authority has notified its decision. This applies regardless of
whether the claim is asserted by the person who brought the case
or by the other party, including the public authorities If the case
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          Case 1:21-cv-05339-LAK                   Document 83-2             Filed 06/24/24         Page 7 of 9
Limitation Act (LBKG 2015 1238)                                                                                      Effective: 2024-
                                                                                                                     01-01
                                                                      § The Act cannot be derogated from by prior agreement to the
Subsection 3. If a dispute is brought before a private complaints
                                                                      detriment of the debtor.
board, appeals board or similar before the expiry of the
                                                                      Paragraph 2. Nor may the law be derogated from by prior
limitation period, subsection (2), first and second sentences,
                                                                      agreement to the detriment of a creditor (consumer) when the
applies accordingly.
                                                                      creditor acts mainly outside his profession and the debtor is a
Subsection 4. If, before the expiry of the limitation period, a
                                                                      trader acting in the course of his profession.
request has been made in accordance with the rules of the
Danish Administration of Justice Act or on the basis of the
parties' prior agreement for an expert opinion to be held outside
court or arbitration proceedings concerning matters of
importance to the existence or amount of the claim, or if the
parties have agreed on this before the expiry of the limitation
period, the limitation period will begin at the earliest one year
after the conclusion of the expert opinion.
Subsection 5. If negotiations concerning the claim between the
debtor and the creditor have been initiated before the expiry of
the limitation period, possibly with the assistance of an
independent third party, the limitation period shall commence no
earlier than one year after the time when the negotiations are
deemed to have been completed.
§ 22. If several debtors are jointly and severally liable for the
claim, and if the claimant before the expiry of the limitation
periods has initiated legal proceedings as mentioned in section 16
or section 21(1) against one of the debtors and notified the
others in writing of the proceedings and invited them to protect
their interests during the proceedings, the claim against the other
debtors shall lapse at the earliest one year after the proceedings
have been concluded by settlement, judgment or otherwise.
Subsection 2. The same rules apply when the claim is dependent
on a legal action brought by or against the creditor.

Chapter 7
The effects of obsolescence
§ By limitation, the creditor loses his right to demand
performance.
Paragraph 2. Upon expiry of the principal claim, claims for
interest and similar payments also lapse.
§ Irrespective of the limitation of the claim, the creditor retains
the agreed right of set-off and right of set-off against claims
arising from the same legal relationship and which arose before
the limitation period began.
§ If a claim becomes time-barred, the right to enforce the claim
in mortgage or attachment of the debtor's property also lapses,
but see subsection (2).
Paragraph 2. Regardless of the limitation of the claim, the right
to enforcement of a mortgage on the debtor's property is
preserved in the case of
1)     mortgage for the principal amount of a registered
       mortgage deed in real estate for a certain specified sum,
2)     a mortgage, other than a mortgage on a mortgage deed, or
3)     a mortgage on real property that the mortgagee has taken
       over for use before the claim becomes time-barred.
Paragraph 3. The right of retention is not affected by the
limitation of the claim. Stk. 4. A seller's retention of title in
delivered movable property lapses upon expiry of the claim for
the purchase price.
Subsection 5. When a right rests on real property as a basic
burden, only the individual payments due are subject to
limitation.

Chapter 8
Deviability from the law etc.
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          Case 1:21-cv-05339-LAK                    Document 83-2              Filed 06/24/24            Page 8 of 9
Limitation Act (LBKG 2015 1238)                                                                                          Effective: 2024-
                                                                                                                         01-01

Stk. 3. The trader bears the burden of proof that a contract            Stk. 2. From the entry into force of the Act, Danish Act 5-14-4
concluded by the trader is not covered by paragraph 2.                  and Act no. 274 of December 22, 1908 on limitation of certain
Subsection 4. The provision in subsection (2) does not apply            claims are repealed, cf. however, section 30(1).
when a document has been issued for the claim and the debtor is         § The Act shall also apply to previously established claims which
discharged by making payment to the person holding the                  are not time-barred before the date of entry into force according
document.                                                               to the previous rules, cf. however, subsections (2) and (4).
§ The day of the month corresponding to the day from which the          However, the limitation period shall commence on January 1,
time limit is calculated shall be included in the time limits under     2011 at the earliest, unless the claim would have been time-
this Act. In the absence of a corresponding day, the deadline           barred before that date under the provisions of this Act as well as
expires on the last day of the month.                                   under the previously applicable provisions. In the latter case, the
Paragraph 2. If a deadline expires on a weekend, public holiday,        latest date of commencement of the limitation period shall apply.
Constitution day, December 24 or 31, the deadline will be               Paragraph 2. However, until December 31, 2017, the time limit
extended to the next working day.                                       under section 3(3)(4) of the Act is 20 years after the date of the
§ Where special limitation periods or other special provisions on       creation of the claim for claims for a proportional reduction in
limitation are laid down in other legislation, the provisions of this   the purchase price of real estate due to soil contamination.
Act shall apply to the extent that nothing else follows from the        Subsection 3. Interruption of the statute of limitations that took
other legislation or from the special nature of the matter.             place before the Act entered into force shall have the same effect
                                                                        as interruption under this Act, even if it has not taken place in the
Chapter 9                                                               manner prescribed by the Act.
                                                                        Subsection 4. Section 26(2) of the Act shall only apply to
Entry into force etc.                                                   agreements entered into or extended after the entry into force of
§ Section 29. The Act enters into force on January 1, 2008.             the Act.
                                                                        § The Act does not apply to the Faroe Islands and Greenland, but
                                                                        may by royal decree be brought into force for these parts of the
                                                                        country with the deviations required by the special Faroese and
                                                                        Greenlandic conditions.




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            Case 1:21-cv-05339-LAK                           Document 83-2               Filed 06/24/24               Page 9 of 9
Limitation Act (LBKG 2015 1238)                                                                                                          Effective: 2024-
                                                                                                                                         01-01
                                                                                   if section 2 inserts section 3(5) and amends section 4(2) and section 30(2),
(1) Act No. 140 of February 28, 2018 amending the Criminal Code, the Act           contains the following entry into force provisions:
   on Limitation of Claims, the Act on Liability for Damages and the Act on        § 5.
   State Compensation to Victims of Crime (Repeal of limitation periods for        Paragraph 1. The Act enters into force on April 1, 2018.
   the offender's criminal liability in cases of child sexual abuse and for        Stk. 2. ---.
   claims for damages against administrative authorities for failure in cases of   (3) Section 2(1) shall also apply to claims that are time-barred before the
   child abuse, increase o f t h e level of tort compensation for sexual           entry into force of the Act.
   violations and repeal of the 72-hour rule in cases of rape, incest and child    Paragraphs 4-5 ---.
   sexual abuse etc,)




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